       Case 2:21-cv-02538-HLT-GEB Document 8 Filed 03/23/22 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS

CHERI WILLARD,                             )
                                           )
                       Plaintiff,          )
                                           )
vs.                                        )
                                           )        Case No. 2:21-cv-02538-HLT-GEB
ALEJANDRO MAYORKAS, in his                 )
capacity as Secretary of the Department of )
Homeland Security,                         )
                                           )
                       Defendant.          )
                                           )

                                   MOTION TO DISMISS

       The United States, on behalf of the Department of Homeland Security, by and through

United States Attorney for the District of Kansas Duston J. Slinkard and Assistant United States

Attorney Brian E. Vanorsby, moves this Court to dismiss Plaintiff’s action for failure to state a

claim under Federal Rule of Civil Procedure 12(b)(6) and for lack of subject matter jurisdiction

under Federal Rule of Civil Procedure 12(b)(1). In accordance with D. Kan. Rules 7.1, 7.6, and

56.1, the United States is filing a separate memorandum in support hereof.



                                                    Respectfully submitted,

                                                    DUSTON J. SLINKARD
                                                    United States Attorney
                                                    District of Kansas

                                                    /s/ Brian E. Vanorsby
                                                    Brian E. Vanorsby, KS #27606
                                                    Assistant United States Attorney
                                                    United States Attorney’s Office
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                                                    Attorneys for Defendant
       Case 2:21-cv-02538-HLT-GEB Document 8 Filed 03/23/22 Page 2 of 2




                                CERTIFICATE OF SERVICE

       I further certify that on March 23, 2022, I electronically filed the foregoing document

with the clerk of the court by using the CM/ECF system which will send a notice of electronic

filing to the following:

       Rebecca M. Randles
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       851 NW 45th Street, Suite 310
       Kansas City, MO 64116
       Attorney for Plaintiff


                                                    /s/ Brian E. Vanorsby
                                                    Brian E. Vanorsby
                                                    Assistant United States Attorney




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